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                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In Re:                                      )       Chapter 7 Case
                                            )
Norma Jean Griffin,                         )       Case No. 15-26407
                                            )
                        Debtor.             )       Hon. A. Benjamin Goldgar

                                    NOTICE OF MOTION
TO: See Attached List

        PLEASE TAKE NOTICE that on Monday, August 29, 2022, at 9:30 AM, I will appear
before the Honorable A. Benjamin Goldgar, or any judge sitting in that judge’s place, and present
the United States Trustee’s Motion for Order Reopening Chapter 7 Case Pursuant to 11
U.S.C. § 350(B) and Rule 5010 of the Federal Rules of Bankruptcy Procedure and for
Authorization to Appoint a Chapter 7 Trustee and Reassigning Case, a copy of which is
attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID
and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and passcode.

        Meeting ID and password. The meeting ID for this hearing is 161 500 0972 and the
password is 726993. The meeting ID and password can also be found on the judge’s page on the
court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.

                                                    /s/ Adam G. Brief
                                                    Adam G. Brief, Assistant U.S. Trustee
                                                    OFFICE OF THE U.S. TRUSTEE
                                                    219 S. Dearborn Street
                                                    Chicago, IL 60604
                                                    adam.brief@usdoj.gov
                                                    (202) 503-7104
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                               CERTIFICATE OF SERVICE

      I, Adam G. Brief, Assistant U.S. Trustee, certify that on August 16, 2022, I caused to be
served copies of the Notice of Motion and Motion for Order Reopening Chapter 7 Case
Pursuant to 11 U.S.C. § 350(B) and Rule 5010 of the Federal Rules of Bankruptcy Procedure
and for Authorization to Appoint a Chapter 7 Trustee and Reassigning Case on the ECF
Registrants shown below via the Court’s Electronic Notice for Registrants and via First Class US
Mail by BMC Group on all other entities shown at the addresses listed below. A supplement to
this Certificate of Service from BMC Group will be filed.

                                                   /s/ Adam G. Brief




                                       SERVICE LIST

Registrants Served Through the Court’s Electronic Notice for Registrants:

   •   Richard M. Fogel rfogel@shawfishman.com, il72@ecfcbis.com;richard-fogel-
       1441@ecf.pacerpro.com
   •   Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov
   •   Keith Levy amps@manleydeas.com
   •   Charles L. Magerski Cmagerski@sulaimanlaw.com,
       charles@clmlawgroup.com;magerskicr85454@notify.bestcase.com
   •   Jose G Moreno nd-one@il.cslegal.com
   •   Gloria C Tsotsos bkpleadingsNORTHERN@il.cslegal.com

Parties Served via First Class Mail:

Norma Jean Griffin
5734 S Sangamon Street
Chicago, IL 60621

Norma Jean Griffin
4830 W. Kamerling Ave.
Chicago, IL 60651




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                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In Re:                                        )       Chapter 7 Case
                                              )
Norma Jean Griffin,                           )       Case No. 15-26407
                                              )
                       Debtor.                )       Hon. A. Benjamin Goldgar

              MOTION FOR ORDER REOPENING CHAPTER 7 CASE
               PURSUANT TO 11 U.S.C. § 350(b) AND RULE 5010 OF
           THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
         FOR AUTHORIZATION TO APPOINT A CHAPTER 7 TRUSTEE AND
                          REASSIGNING CASE

         Patrick S. Layng, the United States Trustee for the Northern District of Illinois (“U.S.

Trustee”), by and through the Assistant U.S. Trustee, Adam G. Brief, hereby requests entry of an

order reopening this case pursuant to Section 350(b) of the Bankruptcy Code and Bankruptcy Rule

5010 and for authorization to appoint a chapter 7 trustee and reassigning case. In support of his

motion, the U.S. Trustee respectfully states as follows:

                                         JURISDICTION

         1.     The Court has jurisdiction to hear and determine this proceeding under 28 U.S.C.

§ 157(b)(2) and IOP 15(a) and Local Rule 40.3.1 of the United States District Court for the

Northern District of Illinois.

         2.     Movant is the U.S. Trustee for the Northern District of Illinois and is charged with

supervising the administration of bankruptcy cases under 28 U.S.C. § 586(a). The U.S. Trustee has

standing to bring this Motion under 11 U.S.C. § 307.




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                                        BACKGROUND

       3.      On July 31, 2015, Norma Jean Griffin commenced this case by filing a voluntary

petition for relief under Chapter 7 of the Bankruptcy Code.

       4.      Richard M. Fogel was appointed and served as the Chapter 7 Trustee (“Chapter 7

Trustee”). On September 15, 2015, the Chapter 7 Trustee filed a No Asset Report. The Court

entered an order discharging the Debtor and subsequently, the Chapter 7 Trustee was discharged

and the bankruptcy case was closed.

       5.      More recently, the U.S. Trustee received notification that Norma Jean Griffin has

been offered a settlement concerning a prepetition and post-petition personal injury claim.

       6.      Upon information and belief, the U.S. Trustee believes that the settlement and

proceeds from this lawsuit may be property of the estate pursuant to 11 U.S.C. § 541(a).

                                     RELIEF REQUESTED

       7.      The U.S. Trustee requests that the Court reopen this bankruptcy case and authorize

the U.S. Trustee to appoint a chapter 7 trustee.

       8.      Section 350 of the Bankruptcy Code provides that:

               (a) After an estate is fully administered and the court has discharged the trustee,
                   the court shall close the case.

               (b) A case may be reopened in the court in which such case was closed to
                   administer assets, to accord relief to the debtor, or for other cause.

Rule 5010 of the Federal Rules of Bankruptcy Procedure implements Section 350(b).

       9.      Based on the foregoing, the U.S. Trustee requests that the Court reopen this

bankruptcy case and authorize the U.S. Trustee to appoint a chapter 7 trustee to further investigate

and determine whether assets are available for creditors and for any other action the chapter 7

trustee deems necessary.
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       WHEREFORE, the U.S. Trustee respectfully asks the Court to enter an order: (1)

reopening this case; (2) authorizing the U.S. Trustee to appoint a chapter 7 trustee to represent the

estate; and (3) reassigning this case to a Cook County bankruptcy judge and for such other and

further relief as this Court deems appropriate.

                                                      RESPECTFULLY SUBMITTED,
                                                      PATRICK S. LAYNG
                                                      UNITED STATES TRUSTEE


Dated: August 16, 2022                                /s/ Adam G. Brief
                                                      Adam G. Brief, Assistant U.S. Trustee
                                                      OFFICE OF THE U.S. TRUSTEE
                                                      219 S. Dearborn Street
                                                      Chicago, IL 60604
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